ordermecm/ms) Case 1:08-cr-00562 Document 11 Filed 07/28/2008 Page 1 of 1
United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

Name or Assigned Judge Morton Denlow Si“i“g J“dg€ if thc" Susan E. COX
or Magistrate Judge than Assigned Judge
CASE NUMBER 08 CR 562 - 2 DATE ?/28/2008
CASE USA vs. Christine Burgos
TITLE
DOCKET ENTRY TEXT

 

Initial appearance proceedings held. Defendant Self-Surrendered 7/28/08 at noon. Defendant informed of her
rights. Attr)rney Donna B. Makowski is given leave to file her appearance as retained counsel. Defendant to
remain in custody pending bond hearing Set for 7/29/08 at 2:30 p.rn. Preliminary examination set for 8/15/03
at 3100 p.rn.

Dockcting to mail netices.

 

 

 

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